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                            United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §            Case No. 4:07cr77
                                                   §            (Judge Schell)
 PAULA ELAINE SMITH (1)                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

         Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on January 19, 2011, to determine whether Defendant violated her supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Stevan

 Buys.

         On April 1, 2008, Defendant was sentenced by the Honorable Marcia A. Crone to sixty (60)

 months’ custody followed by three (3) years of supervised release for the offense of Conspiracy to

 Possess, Steal, or Receive Stolen Mail Matter. On August 18, 2008, the sentence was amended to

 thirty (30) months' imprisonment followed by three (3) years of supervised release. On June 22,

 2009, Defendant completed her period of imprisonment and began service of her supervised term.

 On August 25, 2010, this case was reassigned to the Honorable Richard A. Schell.

         On November 1, 2010, the U.S. Pretrial Services Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated the following standard

 conditions: (1) the defendant shall not leave the judicial district without permission of the Court or

 probation officer; (2) the defendant shall report to the probation officer, and shall submit a truthful

 and complete written report within the first five days of each month; (3) the defendant shall answer

 truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
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 (4) the defendant shall work regularly at a lawful occupation unless excused by the probation officer

 for schooling, training or other acceptable reasons; (5) the defendant shall notify the probation officer

 ten days prior to any change of residence or employment; and (6) the defendant shall not associate

 with any persons engaged in criminal activity, and shall not associate with any person convicted of

 a felony unless granted permission to do so by the probation officer.

         The petition alleges violation of the following special conditions: (1) the defendant shall

 provide the probation officer with access to any requested financial information for the purposes of

 monitoring the defendant’s efforts at obtaining and maintaining lawful employment; (2) the

 defendant shall participate in a program of testing and treatment for drug abuse, under the guidance

 and direction of the U.S. Probation Office, until such time as the defendant is released from the

 program by the probation officer; (3) under the guidance and direction of the U.S. Probation Office,

 the defendant shall participate in any combination of psychiatric, psychological, or mental health

 treatment as deemed appropriate by the treatment provider; and (4) the defendant must make

 restitution in the amount of $4,967.55. Restitution payments to begin immediately. Any amount that

 remains unpaid when the defendant’s supervision commences is to be paid on a monthly basis at a

 rate of at least 10% of the defendant’s gross income.

         The petition alleges that Defendant committed the following acts: (1) During July and August

 2010, Defendant resided at various times in Dallas, Texas, without permission of the U.S. Probation

 Office; (2) Defendant failed to report in person to the U.S. Probation Office on October 1, 2010, and

 October 19, 2010. Defendant failed to submit a monthly report for the month of September 2010.

 Defendant submitted delinquent written monthly reports for the months of May, June, and August

 2010; (3) In June 2010, Defendant quit her job at K&D Plastics in Gainesville, Texas, and has failed

 to maintain employment since. Defendant failed to notify her probation officer ten days prior to or
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 after terminating employment; (4) On September 16, 2010, a home visit was conducted and contact

 was made with the Defendant and her live-in boyfriend, Ardis Williams. Defendant and Mr.

 Williams stated that Mr. Williams only had a misdemeanor arrest history. However, NCIC criminal

 history was obtained and showed Mr. Williams to have a felony conviction for Possession of a

 Controlled Substance; (5) On October 13, 2010, Defendant was instructed to complete and return

 a personal financial packet by October 28, 2010, which Defendant failed to do; (6) Defendant failed

 to submit random urine specimens at McCary Counseling Services, Denton, Texas, on July 18, 2009;

 September 22, 2010; and October 6, 21, and 25, 2010; (6) On July 28, 2010, Defendant requested

 she receive mental health counseling. Defendant was referred to Dr. Clower, in Denton, Texas. As

 of this date, Defendant failed to schedule an evaluation and has been unsuccessfully discharged; and

 (7) On July 28, 2009, Defendant signed a payment agreement in which she agreed to pay $50 a

 month starting on September 1, 2009. Since starting her term of supervised release, Defendant has

 paid $2,075. Defendant has failed to make payments for the months of April, May, June, July,

 August, September, and October 2010, and an outstanding balance of $2,917.55 remains.

        Prior to the Government putting on its case, Defendant entered a plea of true to all of the

 violations. The Court recommends that Defendant’s supervised release be revoked.

                                     RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release.

 Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

 to the custody of the Bureau of Prisons to be imprisoned for a term of six (6) months followed by

 twenty-four (24) months of supervised release. It is also recommended that Defendant be housed

 in the Bureau of Prisons, Bryan Unit.
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       The Court further recommends the following conditions:

       Within 72 hours of release from the custody of the Bureau of Prisons, the defendant shall
       report in person to the probation office in the district to which the defendant is released.

       While on supervised release, the defendant shall not commit another federal, state, or local
       crime, and shall comply with the standard conditions that have been adopted by the Court,
       and shall comply with the following additional conditions:

       The defendant shall provide the probation officer with access to any requested financial
       information for purposes of monitoring employment.

       The defendant shall pay any financial penalty that is imposed by this judgment, and that remains
       unpaid at the commencement of the term of supervised release.

       The defendant shall not possess a firearm, ammunition, destructive device, or any other
       dangerous weapon.

       The defendant shall not incur new credit charges or open additional lines of credit without
       the approval of the probation officer unless payment of any financial obligation ordered by
       the Court has been paid in full.

       The defendant shall not participate in any form of gambling unless payment of any financial
       obligation ordered by the Court has been paid in full.

       The defendant shall be required to submit to a drug test within 15 days of release on
       supervised release, and at least two periodic drug tests thereafter, as directed by the probation
       officer.

       The defendant shall participate in a program of testing and treatment for drug abuse, under
       the guidance and direction of the U.S. Probation Office, until such time as the defendant is
       released from the program by the probation officer.

       Under the guidance and direction of the U.S. Probation Office, the defendant shall participate
       in a program of psychiatric and mental health services and shall comply with any medication
       requirements as prescribed by the treatment provider.

       It is further ordered that the defendant is to pay restitution totaling $4,967.55 to the victim listed
       in the "Victim Impact" section of the Presentence Report. The Court orders the restitution
       payments to begin immediately. Any amount that remains unpaid when the defendant's
       supervision commences is to be paid on a monthly basis at a rate of at least 10% of the
       defendant's gross income, to be changed during supervision, if needed, based on the defendant's
       changed circumstances, pursuant to 18 U.S.C. § 3664(k). Additionally, at least 50% of receipts
       received from gifts, tax returns, inheritances, bonuses, lawsuit awards, and any other receipt of
       money (to include, but not limited to, gambling proceeds, lottery winnings, and found money)
       must be paid toward the unpaid restitution balance within 15 days of receipt. Restitution is
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            payable by cashier's check or money order made out to the United States District Court and
            forwarded to the Fine and Restitution Section, U.S. Courts, P.O. Box 570, Tyler, Texas 75710.
.           Interest is waived.

            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

           SIGNED this 24th day of January, 2011.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES MAGISTRATE JUDGE
